                                                                                       United States District Court
                                                                                         Southern District of Texas

                                                                                            ENTERED
                                                                                            June 01, 2022
                            UNITED STATES DISTRICT COURT
                                                                                         Nathan Ochsner, Clerk
                             SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION


RIPPY OIL CO,                                     §
                                                  §
            Plaintiff,                            §
                                                  §
VS.                                               § CIVIL ACTION NO. 4:22-CV-00276
                                                  §
AIG SPECIALTY INSURANCE                           §
COMPANY, et al.,                                  §
                                                  §
            Defendants.                           §

       ORDER GRANTING UNOPPOSED MOTION FOR EXTENSION OF TIME

       Upon considering the plaintiff, Rippy Oil Company’s, unopposed motion for extension of

time to file response to the defendants’ motion to dismiss, or in the alternative, to transfer or stay

(Dkt. No. 4) and joinder in same (Dkt. No. 8), the Court finds the motion is well taken and should

be granted (Dkt. No. 22).

       Therefore, the plaintiff is granted up to and including March 23, 2022, to file its response

to the motion to dismiss, or in the alternative, to transfer or stay (Dkt. No. 4) and joinder in same

(Doc. 8).

       It is so ORDERED.

       SIGNED on May 19, 2022, at Houston, Texas.


                                                       _________________________________
                                                       Kenneth M. Hoyt
                                                       United States District Judge




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